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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
ROY COCKRUM, SCOTT COMER, and                    )
ERIC SCHOENBERG,                                 )
                                                 )
                Plaintiffs,                      )
                                                 )
        v.                                       ) Civil Action No. 1:17-cv-1370-ESH
                                                 )
DONALD J. TRUMP FOR PRESIDENT,                   )
INC., and ROGER STONE,                           )
                                                 )
                Defendants.                      )
                                                 )


              MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE


       Pursuant to Civil Local Rule 83.2(d), Plaintiffs move for an order allowing admission of

attorney Stephen P. Berzon to appear pro hac vice in the above entitled action. This motion is

supported by the Declaration of Stephen P. Berzon, filed herewith. As set forth in Mr. Berzon’s

declaration, he is admitted and an active member in good standing of the following courts and

bars: California State Bar, U.S. Supreme Court, District of Columbia - Court of Appeal, U.S.

Court of Appeal - D.C. Circuit, U.S. Court of Appeal - 4th Circuit, U.S. Court of Appeal - 6th

Circui, U.S. Court of Appeal - 9th Circuit, U.S. Court of Appeal - 10th Circuit, Northern District

of California, Eastern District of California, Central District of California, Southern District of

California, and the Supreme Court of Louisiana. This motion is supported and signed by

Benjamin Berwick, an active and sponsoring member of the Bar of this Court.

Date: May 25, 2018                          Respectfully submitted,

                                            /s/ Benjamin L. Berwick
                                            BENJAMIN L. BERWICK (D.D.C. Bar No. MA0004)
                                            United to Protect Democracy



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                           Cambridge, MA 02138
                           (909) 326-2911
                           ben.berwick@protectdemocracy.org
                           Counsel for Plaintiffs
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                                 CERTIFICATE OF SERVICE

         I certify that on this 25th day of May, 2018, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to

all registered parties.

                                            Respectfully submitted,

                                            /s/ Benjamin L. Berwick
                                            BENJAMIN L. BERWICK (D.D.C. Bar No.
                                            MA0004)
                                            United to Protect Democracy
                                            10 Ware Street
                                            Cambridge, MA 02138
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                                            ben.berwick@protectdemocracy.org

                                            Counsel for Plaintiffs
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                              )
ROY COCKRUM, SCOTT COMER, and                 )
ERIC SCHOENBERG,                              )
                                              )
              Plaintiffs,                     )
                                              )
      v.                                      ) Civil Action No. 1:17-cv-1370-ESH
                                              )
DONALD J. TRUMP FOR PRESIDENT,                )
INC., and ROGER STONE,                        )
                                              )
              Defendants.                     )
                                              )

   DECLARATION OF STEPHEN P. BERZON IN SUPPORT OF MOTION FOR
                    ADMISSION PRO HAC VICE

I, Stephen P. Berzon, hereby declare:

     1.     My name, office address, and telephone number are as follows:

     Stephen P. Berzon
     Altshuler Berzon LLP
     177 Post Street, Suite 300
     San Franciso, CA 94108
     (415) 421-7151

     2.     I have been admitted to the following courts and bars:

     Courts/Bars                                  Bar No.            Date Admitted
     Supreme Court of Louisiana                                      09/05/69
     California State Bar                         46540              06/26/70
     Northern District of California                                 06/26/70
     U.S. Supreme Court                                              12/06/72
     U.S. Court of Appeal - 9th Circuit                              07/20/72
     District of Columbia - Court of Appeal                          01/23/75
     Eastern District of California                                  02/22/79
     U.S. Court of Appeal - D.C. Circuit                             03/15/84
     U.S. Court of Appeal - 10th Circuit                             11/15/94
     U.S. Court of Appeal - 6th Circuit                              03/08/04
     Central District of California                                  07/09/02
     U.S. Court of Appeal - 4th Circuit                              02/05/07
     Southern District of California                                 02/20/13



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      3.      I certify that I have not been disciplined by any bar, and I am currently in good

 standing with all states, courts, and bars which I am amitted.

      4.      I have not been admitted pro hac vice in this Court within the last two years.

      I declare under penalty of perjury that the foregoing is true and correct.

Date: May 25, 2018                         Respectfully submitted,

                                           /s/ Stephen P. Berzon
                                           STEPHEN P. BERZON (Cal. Bar No. 46540)
                                           Altshuler Berzon LLP
                                           177 Post Street, Suite 300
                                           San Franciso, CA 94108
                                           (415) 421-7151
                                           sberzon@altber.com

                                           Counsel for Plaintiffs
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              )
 ROY COCKRUM, SCOTT COMER, and                )
 ERIC SCHOENBERG,                             )
                                              )
                Plaintiffs,                   )
                                              )
        v.                                    ) Civil Action No. 1:17-cv-1370-ESH
                                              )
 DONALD J. TRUMP FOR PRESIDENT,               )
 INC., and ROGER STONE,                       )
                                              )
                Defendants.                   )
                                              )

  [PLAINTIFFS’ PROPOSED] ORDER GRANTING MOTION FOR ADMISSION OF
              ATTORNEY STEPHEN P. BERZON PRO HAC VICE


       The Court has reviewed Plaintiffs’ motion for admission of attorney Stephen P. Berzon

pro hac vice. Upon consideration of that motion, the Court GRANTS attorney Stephen P. Berzon

pro hac vice admission to this Court.

       IT IS SO ORDERED.

DATED:                                            ____________________________
                                                  United States District Judge
